     Case: 1:19-cv-03097 Document #: 23 Filed: 08/13/19 Page 1 of 2 PageID #:571




                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

BANK OF AMERICA, N.A.,                         )
                                               )
             Plaintiff,                        )
                                               )
v.                                             ) Case No. 19-cv-3097
                                               )
RAMAHA DENTAL P.C.; HYDE PARK                  ) Honorable Jorge L. Alonso
UNIVERSAL DENTAL, LLC; PULASKI                 )
UNIVERSAL DENTAL LLC; STONE                    )
PARK DENTAL, INC.; UNIVERSAL                   )
DENTAL LLC; UD GROUP, LLC; and                 )
AHMED RAMAHA, Individually,                    )
                                               )
              Defendants.                      )

                          MOTION FOR JUDGMENT UPON DEFAULT

        NOW COMES Plaintiff, Bank of America, N.A. (“BANA”), by and through its

undersigned counsel, and for its Motion for Judgment Upon Default against Defendants Ramaha

Dental P.C. (“Ramaha Dental”), Hyde Park Universal Dental, LLC (“HPU-Dental”), Pulaski

Universal Dental, LLC (“PU-Dental”), Stone Park Dental, Inc. (“SP-Dental”), Universal Dental

LLC (“Universal Dental”), UD Group, LLC (“UD Group”), and Ahmed Ramaha (“Ramaha”)

(collectively, the “Defendants”), pursuant to Federal Rule of Civil Procedure 55(b), states as

follows:

        1.     On May 14, 2017, BANA filed its Amended Complaint for breach of contract

against the Defendants. See D.E. 7.

        2.     On July 18, 2019, the Court entered a default against the Defendants. See D.E. 21.

        3.     Pursuant to their default, the Defendants admit the allegations of the Complaint.

See Fed. R. Civ. P. 8(b)(6).

        4.     The Servicemembers Civil Relief Act does not apply to the corporate defendants



                                                1
   Case: 1:19-cv-03097 Document #: 23 Filed: 08/13/19 Page 2 of 2 PageID #:571




as non-natural persons. Upon information and belief, Ramaha is not in the military service of the

United States. See Affidavit of Non-Military Service attached hereto as Exhibit 1.

       5.      The Defendants, jointly and severally, are indebted to BANA on its breach of

contract claims in the amount of $471,051.13 (calculated to August 8, 2019), plus attorneys’ fees

and costs through August 7, 2019 of $12,120.00 for a total judgment of $483,171.13, plus

accruing interest (regular and default) at the combined rate of $129.52 per diem, plus attorneys’

fees and costs that continue to accrue. See Affidavit of Annie Kim in Support of Damages, ¶¶ 40-

41, 49, attached hereto as Exhibit 2; Affidavit of Natalia R. Griesbach in Support of Attorneys’

Fees and Costs, attached hereto as Exhibit 3, ¶ 3.

       WHEREFORE, Plaintiff Bank of America, N.A., respectfully requests that the Court

enter an Order granting the motion for monetary judgment in favor of Bank of America, N.A.

and against Ramaha Dental P.C., Hyde Park Universal Dental, LLC, Pulaski Universal Dental,

LLC, Stone Park Dental, Inc., Universal Dental LLC, UD Group, LLC, and Ahmed Ramaha,

jointly and severally, in the amount of $471,051.13, plus attorneys’ fees and costs through

August 7, 2019 of $12,120.00 for a total judgment (as of August 8, 2019) of $483,171.13,

accruing interest (regular and default) at the combined rate of $129.52 per diem, plus attorneys’

fees and costs which continue to accrue, and any other and further relief as this Court deems just

and appropriate.

                                             BANK OF AMERICA, N.A.

Dated: August 13, 2019               By:     /s/ Allison E. Pietras
                                             Natalia R. Griesbach
                                             Allison E.K. Pietras
                                             LOWIS & GELLEN, LLP
                                             175 W. Jackson Blvd., Ste. 950
                                             Telephone: (312) 364-2500
                                             Facsimile: (312) 364-1003
                                             ngriesbach@lowis-gellen.com
                                             apietras@lowis-gellen.com



                                                2
